Case 3:22-cv-02646-LB Document 119-3 Filed 03/21/23 Page 1 of 4




                Exhibit 2
           Case 3:22-cv-02646-LB Document 119-3 Filed 03/21/23 Page 2 of 4


From:             John Pierce
To:               Sanchez Dayme; Mehta Sonal; Schottlaender Hayden !DAL}; Holtzblatt Ari; Barnet Ernilx; Brinster Jeremy w;
                  Kiernan David c ; Stewart Craig E
Cc:               jpatchen@will kie.com; m;JOvernski@willkie.com; mqottlieb@willkie.com; ychi@willkie.com; Roger Roots; Emily
                  Lambert Shahrzad Haddad
Subject:          RE: Loomer v. Meta et al.: Substitution of Counsel
Date:             Saturday, February 11, 2023 7: 16: 35 PM



!EXTERNAL SENDER!

All-


In light of all the new evidence that has come out in the last couple days with the Congressional
hearing etc., we intend to move for leave to file a Second Amended Complaint.


I am writing to see if you would stipulate/consent to that motion, since I think it is likely it will be
granted in light of all the new evidence.


Of course, this could obviate the need to finalize and file your replies on the MTD's and vacate the
3/9 hearing.


Regardless, we do intend to file it prior to the 3/9 hearing.


Just seeing if we can save ourselves a bit of work here and be as efficient as possible.


Please let me know,
John


From: Sanchez, Dayme <daymesanchez@jonesday.com>
Sent: Friday, February 10, 2023 12:33 PM
To: John Pierce <jpierce@johnpiercelaw.com>; Mehta, Sonal <Sonal.Mehta@wilmerhale.com>;
Schottlaender, Hayden (DAL) <HSchottlaender@perkinscoie.com>; Holtzblatt, Ari
<A ri.Holtzblatt@wilmerhale.com>; Barnet, Emily <Emily.Barnet@wilmerhale.com>; Brinster, Jeremy
W.<Jeremy.Brinster@wilmerhale.com>; Kiernan, David C. <dkiernan@JonesDay.com>; Stewart,
Craig E.<cestewart@J onesDay.co m>
Cc: jpatchen@willkie.com; mgovernski@willkie.com; mgottlieb@willkie.com; ychi@willkie.com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel

The Procter & Gamble Company does not oppose Perkins Coie's withdrawal as counsel for
Defendants Twitter, Inc. and Jack Dorsey.


Regards,
Dayme


Dayme Sanchez    W
Associate
JONES PAY® - One fiou Worldwjde®
        Case 3:22-cv-02646-LB Document 119-3 Filed 03/21/23 Page 3 of 4


1755 Embarcadero Road
Palo Alto, CA 94303
Office+ 1.650.687.4127


From: John Pierce <jgierce@johngiercelaw.com>
Sent: Friday, February 10, 2023 11:04 AM
To: Mehta, Sonal <Sonal Mehta@wilmerhale com >; Schottlaender, Hayden (DAL)
<HSchottlaender@gerkinscoie.com>; Holtzblatt, Ari <Ari.Holtzblatt@wi lmerhale.com>; Barnet, Emily
<Emily Barnet@wilmerhale com>; Brinster, Jeremy W. <Jeremy Brjnster@wilmerhale com>; Kiernan,
David C. <dkjernan@JonesDay com>; Stewart, Craig E. <cestewart@JonesDay com>; Sanchez,
Dayme <daymesanchez@jonesday.com>
Cc: jpatchen@willkie com : meovernskj@willkie com : meottlieb@willkie com : ycbi@will kie com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel


** External mail **

No prob thx. John


From: Mehta, Sonal <Sonal.Mehta@wilmerhale.com>
Sent: Friday, February 10, 2023 12:00 PM
To: Schottlaender, Hayden (DAL) <HSchottlaender@perkjnscoje com >; John Pierce
<jgierce@johngierce law.com>; Holtzblatt, Ari <Ari.Holtzblatt@wilmerhale.com>; Ba rnet, Emily
<Emily.Barnet@wilmerhale.com>; Brinster, Jeremy W.<Jeremy.Brinster@wilmerhale.com>; Kiernan,
David C. <dkjernan@JonesDay com>; cestewart@jonesday com; Sanchez, Dayme
<daymesanchez@jonesday.com>
Cc: jgatchen@willkie.com ; m€overnski@wi ll kie.com; m€ottlieb@wil lkie.com : ychi@wil lkie.com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel

No objection from Meta or Mr. Zuckerberg.


From: Schottlaender, Hayden (DAL) <HSchottlaender@perkjnscoje com>
Sent: Friday, February 10, 2023 10:58 AM
To: John Pierce < jgierce@johngiercelaw.com>; Mehta, Sonal <Sonal.Mehta@wilmerhale.com>;
Holtzblatt, Ari <Ari Holtzblatt@wilmerhale com >; Barnet, Emily <Emily Barnet@wilmerhale com >;
Brinster, Jeremy W.<Jeremy.Brinster@wi lmerhale .com>; Kiernan , David C.
<dkiernan@JonesDay.com>; cestewart@jonesday.com; Sanchez, Dayme
<daymesanchez@jonesday com>
Cc: jgatchen@willkie.com ; mgovernskj@willkie com : mgottlieb@willkie com : ychj@will kie com
Subject: Loomer v. Meta et al.: Substitution of Counsel


IEXTERNAL SEND ERi
Counsel:
           Case 3:22-cv-02646-LB Document 119-3 Filed 03/21/23 Page 4 of 4


Willkie now represents Twitter Inc. and Jack Dorsey in the Loomer matter. Could each party please
reply to this email and confirm that they do not oppose Perkins Coie w ithdrawing from representing
Twitter and Dorsey?


Thank you,


Hayden


Hayden Schottlaender I Perkins Coie LLP
COUNSEL
500 N. Akard Street Suite 3300
Dallas, TX 75201
D. •1.214.965-7724
F. •1.214.965.7774
E. HSchottlaender@perkinscoie.com

PeRKINSCOie



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from your system without copying it and notify sender by reply e-mail, so that our records can be
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